407 F.2d 58
    Francis F. SULLIVAN, Appellant,v.DELAWARE RIVER PORT AUTHORITY, Patrick Joseph McKeown, Francis McKeown, Isaac Waldman, Warnell Gamble and Delois Gamblev.POTAMKIN CHEVROLET CO., Inc. and General Motors Corporation (Third-Party Defendants).
    No. 17385.
    United States Court of Appeals Third Circuit.
    Argued January 23, 1969.
    Decided February 10, 1969.
    
      James A. Burgess, Jr., Philadelphia, Pa., for appellant.
      Harold B. Marcus, Detweiler, Sherr &amp; Hughes, Philadelphia, Pa. (Howard R. Detweiler, Philadelphia, Pa., on the brief), for appellee, Patrick Joseph McKeown and Francis McKeown.
      William J. McKinley, Jr., Swartz, Campbell &amp; Detweiler, Philadelphia, Pa., for Potamkin Chevrolet, Inc.
      OPINION OF THE COURT
      Before HASTIE, Chief Judge, and McLAUGHLIN and STAHL, Circuit Judges.
      PER CURIAM.
    
    
      1
      In this negligence action the district court granted summary judgment in favor of some, but not all, of the defendants. This appeal has been taken from that judgment while claims against other parties remain unadjudicated in the trial court.
    
    
      2
      Such a judgment on less than all of the claims in suit is not final or appealable unless made so in the manner prescribed in Rule 54(b), Federal Rules of Civil Procedure. There has been no compliance with Rule 54(b) in this case.
    
    
      3
      The appeal will be dismissed for lack of jurisdiction.
    
    